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OPINION RESEARCH © STRATEGIC ANALYSIS

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e AAA Oregon/Idaho e Idaho Taxpayers Association

« Amalgamated Sugar Co. Boe * Ida-West Energy

e American Red Cross of Greater Idaho e Intermountain Forest Association

e Bechtel Corporation ~ © JAL& Kathryn Albertsons Foundation

« Boise (Boise Cascade Corporation) e J.R. Simplot Company

e Boise Convention and Visitors Bureau * Lockheed Martin

e Campaign for America’s Wilderness e Micron Technology, Inc.

e Coeur d'Alene Tribe * National Potato Promotion Board

* Congresswoman Helen Chenoweth e Neighbors Protecting Idaho (No on Prop. 2

an ~ Land Use, 2006)
e Congressman Mike Simpson -

. . Numerica Credit Union
e astern Idaho Economic Development oe :

Council e Ore-Ida Boy Scouts
e Formation Capital Formation Corp. e Potlatch Corporation
e Governor Butch Otter . * Portneuf Medical Center

e Governor Phil Batt » The Nature Conservancy

* Hecla Mining Company * Trust for Public Land

e Idaho Association of Commerce and * Union Pacific Railroad
Industry wd nn

e U.S. Senator Jim McClure
s Idaho Coalition for Indian Self Reliance (Yes

on Prop. 1 - Tribal Gaming, 2002) e U.S. Senator Jim Risch
e Idaho Conservation League - . e U.S. Senator Steve Symms
e Idaho Education Association e United Way of Treasure Valley
e Idaho Forest Products Commission « University of Idaho

e Idaho Regional Valley Transit/COMPASS

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Executive

Bob Moore, President
In 1981, Bob Moore founded Moore Information, Inc., a full service public
opinion research firm with offices in Portland, Oregon and the Washington,
D.C. area. Since then, Moore's research has helped hundreds of clients win
campaigns, sell ideas and develop

communications strategies. The
company’s client list includes
organizations in every industry

throughout the nation, from Fortune 500
companies and national political
campaigns to non-profit organizations
and local hospitals. Over nearly three
decades, Moore has grown his company
into one of the leading - and most
respected - national opinion research
firms.

Before founding MI, Moore was the
Executive Director of the National
Republican Senatorial Committee (1977-
1980), where he led the successful
Republican effort to capture control of
the U.S. Senate for the first time in 26
years. The success stemmed in part }
from Moore's design, direction and
interpretation of a $1,000,000 annual survey research budget in 39 states.

Active in the community, Moore has served as President of the Oregon
State University Alumni Association and Chair of the Portland Metro Area
Salvation Army Advisory Board.

Moore speaks frequently on public opinion topics of interest to political,
government and business organizations, and has authored numerous
articles on public opinion for local and national publications. Moore is a
graduate of Oregon State University. He and his wife Becky have three
adult children.

hitp://www.moore-info.com/team.html

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OUR APPROACH MOORE TEAM CLIENTS METHODOLOGY POLLS/ANALYSES

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Recent Polls/Analyses

Advice for Congressional Candidates in 2010

Results of our recent statewide survey among Oregon voters reveals
widespread support for a Balanced Budget Amendment, but voters are not
widely enthused about the new health care reform proposal passed by the
House last week. Read more...

Recent
Polls/Analyses Republicans on the Rise
Ten days ago, Republican candidates emerged victorious in hotly contested
Archived elections for Governor in New Jersey and Virginia. Since that time, there

has been considerable speculation and debate by national political pundits
and the party faithful on both sides about whether or not these elections
signaled a partisan sea change among American voters. Read more...

Polls/Analyses

Other Resources

Are U.S, Businesses Over-Requiated?
Beyond The Results of our recent national survey show that by nearly a two-to-one
Numbers margin, American voters believe business and industry are over-regulated
in this country. Further, these data reflect an upward trend in the
percentage since 1991 of the electorate who say government regulation
has gone too far. Read more...

New Poll of Arizona Voters Sheds Light on the Budget Fight

In the likely event that the legislature and governor are unable to reach a
budget agreement and the state is forced to shut down portions of
government, the legislature, rather than Governor Brewer, will bear the
brunt of public blame. Read more...

2010 Oregon Governor’s Race Will Be Competitive

While some political pundits and Democrat leaders would have you believe
that Oregon Republican candidates have no future in statewide office, in
fact, the 2010 race for Governor will be competitive, as our latest poil
shows. Read more...

Is There Light at the end of the Tunnel for the GOP?

President Obama continues to enjoy high job approval ratings and even
higher personal ratings. People like the President and, given the state of
the economy and other problems facing the country, voters want him to
do well. They may be uncertain if his policies will work but so far they are
willing to give him the opportunity to implement his programs. In fact, in
our most recent national survey we found his approval rating at 60% and
a majority of Americans (54%) saying they support his stimulus and
budget plans. Read more...

Despite Our Penchant for Partisanship, Checks and Balances are Still
Important

Our recent nationwide voter survey reveals Republicans continue to trail
Democrats in the traditional congressional generic ballot measurement,
but that Democrat edge does not trump voters’ fundamenta! desire for
partisan checks and balances in our government. Read more...

U.S. Voters and Workplace Concerns

If you've found yourself recently sitting at your desk, worrying about the
cost of health insurance or the possibility of losing your job, you are not
alone. In fact, our recent survey finds 34% of American workers say their
biggest job-related concern today is an “increase in health care insurance
costs” and another 29% are concerned about a “job layoff or job loss.”
Read more...

And the Democrat Candidate for Governor is ... ?
So many Democrats ... so much time until the Primary. If you asked a
Gubernatorial ballot test in Oregon today, what you would get is the

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winner of a popularity contest, not necessarily the strongest candidate.
Read more...

Washington Voter Mood — Not the Worst We've Seen

Our recent survey of Washington voters finds the electorate in a sour
mood, largely fueled by the state of the economy. Today, a 51% majority
of the state’s voters describe things in Washington as headed “off on the
wrong track,” while just 37% say things are headed in the “right
direction.” Read more...

Economic Worries in Oregon .
Oregonians are feeling the economic crisis on a personal level, and it’s not
just a function of the unemployment rate. In our most recent survey of
Oregon voters, we asked respondents which one of five economic issues
was most worrisome in their personal financial situation. Read more...

Sales Tax Hike will be a Tough Sell to Washingtonians

Results of our recent survey of Washington voters show that a sales tax
increase, even if it’s only temporary, will face an uphill battle. Specifically,
we asked voters if they would vote for or against a “temporary increase in
the sales tax, from 6.5% to 7.5%, lasting two years, to ensure that
education and other important state programs have adequate funding.”
Read more...

The Oregon Economy and Voter Mood

With the current economic downturn now being categorized as potentially
the worst financial crisis since the Great Depression, it isn’t surprising to
learn that the mood among Oregon voters is at a six year low. Read
more...

Washington Voters Favor Balancing State Budget

Our recent Washington statewide survey reveals voters are widely
supportive of an amendment to the state constitution requiring the state
government budget to be balanced every year. Fully 73% of voters would
vote for such an amendment, while 20% are against it and 7% have no
opinion. Read more...

Washington Voters Favor Amending I-937

In our recent Washington State survey, we asked voters if they would
favor or oppose amending Washington’s Initiative 937, so that hydro
power is considered renewable energy. The outcome - after hearing 1-937
requires electric utilities to get 15% of their power from non-hydro power
sources by 2020, fully 71% of voters say they would favor such an
amendment. Read more...

Oregon Voters and Ideology

A recent analysis of the Oregon electorate from a compilation of poils
conducted between September 28 and November 2, 2008 shows the
Oregon electorate leans left, compared to the national electorate. Read
more...

Washington Voters and Ideology

In polling, voters are given an opportunity to describe themselves as
Conservative, Moderate or Liberal as a way to associate them with a
particular set of beliefs. While these labels have many meanings in society
today, they can also be a useful indicator in polling as to how voters may
regard and react to issues and candidates. Following is a compilation of
Moore Information’s polling on ideology from July, August and September
2008 in Washington State. Read more...

Protecting Jobs vs. Protecting the Environment

As economic conditions have continued to worsen throughout 2008, voters
have grown more concerned about protecting jobs than protecting the
environment. Asked which issue they are more concerned about today,
65% of U.S. voters say they are more concerned about protecting jobs,
while only 27% are more concerned about protecting the environment.
Read more...

U.S. Voters: Despite Partisan Shifts in the Electorate, Public Views of Two
Major Parties Haven't Changed Much

Our recent national survey asked U.S. voters to select the one attribute
they believe is the best reason to vote for a Republican or a Democrat
candidate. Similar to our findings in November 2003, the leading reason to
vote for a Republican continues to be based on the concept of personal
responsibility - 26% selected the description, “their policies encourage

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people to be responsible for their own actions.” Read more...

Idaho Voters Remain Optimistic About Direction of the State

Our recent survey of Idaho voters shows optimism remains high in the
state, despite a worsening global and national economy and reports of
Micron plant closings closer to home. Idaho voters’ optimism is
noteworthy, in that voter mood is historically driven by the state of the
economy and Idaho is not unlike many other states in the country
experiencing bad news on the employment front. Read more...

Washington Voters and Energy Issues

In light of the national debate over how best to control energy prices —
from gasoline to heating fuels - we asked Washington voters to weigh in
on three potential solutions: increased refining capacity, nuclear energy
and increased offshore drilling. Read more...

Washington Voters and the Economy

When it comes to improving Washington’s economy, jobs are the leading
top of mind economic concern for Washington voters today, ahead of other
leading concerns, including high taxes and fuel costs. Read more...

U.S. Voters and Long Term Care

Our recent national survey finds that when it comes to long term care,
Americans widely agree they or their family members would rather stay at
home with an in-home care provider than move into an assisted living
facility. Read more...

U.S, Voters and Radio Listening Behavior

In our recent survey of U.S. voters, we explored listener frequency of four
categories of radio programming: Conservative and Liberal talk radio,
public radio/NPR and Christian radio. What we learned may surprise you.
Of the four, the most listened to radio programming is reportedly public
radio/NPR, with more than half of U.S. voters listening to public radio at
least occasionally. Christian radio programs were the next most popular,
followed closely by Conservative talk radio. Liberal talk radio showed the
lowest levels of listenership among voters. Read more...

U.S. Voters and Workplace Issues

Health insurance costs are the leading workplace issue concern for U.S.
workers today, and respondents are more likely to be concerned about
these costs today than they were a year ago. Despite this increased level
of concern, another recent national study suggests that employers are
underestimating the importance of health insurance benefits when it
comes to worker loyalty. Specifically, 60% of employers consider health
benefits very important when it comes to employee loyalty, compared to
81% of employees who do. Read more...

US Voters and the Role of Government

Although U.S. voters are concerned about a number of domestic issues
today including the economy, health care and education, these concerns
do not appear to translate into support for expanding the federal
government in efforts to remedy them. In fact, U.S. voters are more likely
to consider the federal government too big and in need of a diet than they
are to agree that government is not doing enough. Read more...

The Oregon Economy and Voter Mood

With the economy emerging as a leading concern among Oregonians in
2008, it isn’t surprising to learn that voter mood in the state is also more
pessimistic in today’s climate. Interestingly, in looking over the last eight
years, we find a distinct correlation between economic concerns and voter
pessimism in Oregon, as found in our recent review. Read more...

U.S. Voters and Energy Options

Despite gas prices reaching record levels, voters have not significantly
changed their views about how to reduce the United States’ dependence
on foreign oil. Furthermore, increasing gas prices do not appear to have a
major impact on views about oil and gas exploration in the Arctic National
Wildlife Refuge. Yet the idea that nuclear energy does not contribute to
global warming increases support for this as an energy option, according
to the findings from our April national survey of voters. Read more...

U.S. Voters, Jobs and the Environment

The environment and the economy have an intertwined relationship when
it comes to public opinion. When the economy is good, or even stable,
people are less concerned about pocketbook issues and more interested in
other issues, such as the environment. Read more...

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Perspectives on Washington’s Economy and Voter Mood

Lately it seems the health of the economy is constantly being defined and
redefined. Inflation, recession, stagflation - no matter what the label,
there are a dizzying number of ways to analyze what Americans think
about the economy. Read more...

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